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UNITED STATES DISTRICT COURT                                                            11/22/2021
SOUTHERN DISTRICT OF NEW YORK

 ROSE MORALES,

                                  Plaintiff,                      20-CV-5274 (ALC)
                      -against-                             ORDER OF SERVICE AND
                                                             SCHEDULING ORDER
 COMMISSIONER OF SOCIAL SECURITY,

                                  Defendant.

ANDREW L. CARTER, JR., United States District Judge:

       Plaintiff, appearing pro se, brings this action under 42 U.S.C. § 405(g), seeking court

review of a decision of the Commissioner of the Social Security Administration. By order dated

October 5, 2020, the Court granted Plaintiff’s request to proceed without prepayment of fees,

that is, in forma pauperis.

       The Clerk of Court shall electronically notify the U.S. Attorney’s Office for the Southern

District of New York that this case has been filed.

       In accordance with the Standing Order “Motions for Judgment on the Pleadings in Social

Security Cases,” 16-MC-0171 (Apr. 20, 2016):

       •   Within 90 days of the date of this order, the Commissioner must serve and file the
           Electronic Certified Administrative Record (e-CAR), which will constitute the
           Commissioner’s answer, or otherwise move against the complaint.
       •   If the Commissioner wishes to file a motion for judgment on the pleadings, the
           Commissioner must do so within 60 days of the date on which the e-CAR was filed.
           The motion must contain a full recitation of the relevant facts and a full description of
           the underlying administrative proceeding.
       •   The plaintiff must file an answering brief within 60 days of the filing of the
           Commissioner’s motion. The Commissioner may file a reply within 21 days
           thereafter.
       •   Memoranda in support of or in opposition to any dispositive motion may not exceed
           25 pages in length; reply memoranda may not exceed ten pages in length. A party
           seeking to exceed these page limitations must apply to the Court for leave to do so,
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             with copies to all counsel, no fewer than seven days before the date on which the
             memorandum is due.
         To conserve resources and promote judicial efficiency, and in an effort to achieve a faster

disposition of this matter, it is hereby ORDERED that the parties must discuss whether they are

willing to consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before the

assigned magistrate judge.

         If both parties consent to proceed before the magistrate judge, counsel for the defendant

must, by no later than January 21, 2022, file a letter with the Court, with an attached fully

executed Notice, Consent, and Reference of a Civil Action to a Magistrate Judge form, the blank

form for which is included in the information package accompanying this order (and also

available at https://www.nysd.uscourts.gov/node/754). If the Court approves that form, all further

proceedings will then be conducted before the assigned magistrate judge rather than before me.

An information sheet on proceedings before magistrate judges is also attached to this order. Any

appeal would be taken directly to the United States Court of Appeals for the Second Circuit.

         If either party does not consent to conducting all further proceedings before the assigned

magistrate judge, the defendant’s counsel must file a letter by no later than January 21, 2022

advising the Court that the parties do not consent, but without disclosing the identity of the party

or parties who do not consent. The parties are free to withhold consent without negative

consequences.

SO ORDERED.

Dated:     November 22, 2021
           New York, New York

                                                            ANDREW L. CARTER, JR.
                                                            United States District Judge




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